     Case 1:14-cr-00228-JLT-SKO Document 215 Filed 01/28/16 Page 1 of 2
                                                                            (SPACE BELOW FOR FILING STAMP ONLY)
 1
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 4

 5
     ATTORNEYS FOR Defendant, Brandon Thomas
 6

 7

 8                          IN THE UNITED STATES DISTRICT COURT

 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
                                                 ******
10
     UNITED STATES OF AMERICA,                     CASE NO.: 1:14-CR-00228 LJO-SKO
11
                    Plaintiff,            STIPUSLWAIVER OF DEFENDANT’S PERSONAL
12                                               PRESENCE; ORDER
     v.                                          THEREON
13
     BRANDON THOMAS,
14

15                  Defendant.

16

17                  Pursuant to Fed. R. Crim. P. 43(b)(3), Defendant, Brandon Thomas, having been

18   advised of his right to be present at all stages of the proceedings, hereby requests that this Court
19   proceed in his absence on every occasion that the Court may permit, pursuant to this waiver.
20
     Defendant agrees that his interests shall be represented at all times by the presence of his
21
     attorney, Harry M. Drandell, the same as if Defendant were personally present, and requests
22
     that this court allow his attorney-in-fact to represent his interests at all times. Defendant further
23
     agrees that notice to Defendant’s attorney that Defendant’s presence is required will be deemed
24
     notice to the Defendant of the requirement of his appearance at said time and place.
25
     ///
26

27   ///

28   ///
                                                       1
     Case 1:14-cr-00228-JLT-SKO Document 215 Filed 01/28/16 Page 2 of 2
 1   Dated: January 28, 2016           HARRY M. DRANDELL
                                                    Law Offices of Harry M. Drandell
 2

 3
                                          By:       /s/ Harry M. Drandell
                                                    HARRY M. DRANDELL
 4                                                  Attorney for Defendant,
                                                    BRANDON THOMAS
 5

 6                 The Government has no objection to Defendant’s request for a waiver of his
 7   personal presence pursuant to Rule 43(b)(3).
 8   DATED: January 28, 2016                               BENJAMIN B. WAGNER
                                                           United States Attorney
 9

10                                                         /s/ Grant Rabenn
                                                           __________________________________
11                                                         GRANT RABENN,
                                                           Assistant United States Attorney,
12                                                         Attorney for Plaintiff

13

14

15

16                                              ORDER

17            GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that Defendant’s

18   appearance may be waived at any and all proceedings until further order of the court.

19
     IT IS SO ORDERED.
20
     Dated:     January 28, 2016                                 /s/ Sheila K. Oberto
21                                                        UNITED STATES MAGISTRATE JUDGE

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